Case 1:15-cv-05345-AJN-KHP Document 547-1 Filed 02/16/18 Page 1 of 6




     EXHIBIT A
   Case 1:15-cv-05345-AJN-KHP Document 547-1 Filed 02/16/18 Page 2 of 6

                              Confiden t ial
                      ILYAS KHRAPUNOV - 02 /0 2 /20 18

                              *** CONFIDENTIAL ***
  1                           STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
  2

  3    CITY OF ALMATY, KAZAKHSTAN,
       and BTA BANK JSC,
  4
                                 Plaintiffs,
  5                      v.

  6    MUKHTAR ABLYAZOV , ILYAS,
       KHRAPUNOV, VIKTOR KHRAPUNOV
  7    and TRIADOU SPV SA,

  8                              Defendants.

  9
                                Case No.   1:15-cv-05345
 10

 11

 12                           Videotaped deposition of :

 13
                                   ILYAS KHRAPUNOV
 14                                   (Vol. II )

 15                            taken at the offices of:

 16                                     LaLive
                                 35 Rue de la Mairie
 17                                  1211 Geneva
                                     Switzerland
 18
                          on Friday, February 2nd, 20 1 8
 19                           commencing at 8 . 40 am

 20

 21

 22

 23

 24

 25


              DTI Cour t Reporting Solutions - New York
1-800-325-3376                                     www.deposition.com
                                                                      Page 137
       Case 1:15-cv-05345-AJN-KHP Document 547-1 Filed 02/16/18 Page 3 of 6

 1
 2   favoUl-able and obviously disfavourable
 3   favourable news to them disf      t                 and
 4   so this kind of process just             any
 5   possibility to conduct any         business activity.
 6                Q.    And    WAY,


 7                MR        Objection. Non-responsive.
 8   Narrative         Move to strike.
 9               KENNEY: I take it all of these articles
10             ions had a negative impact on your
11
12
13                Q.    And was there any truth to the
14   or accusations that were being made?
15                MR SCHWARTZ:             Objecti
16                A.    Those art'     very much defamat{)ry
17   and libellous In            actually are now part of
18   several                     targeting Kazakh --
19                  entities and people for being
20                      intentionally as defamatory
21
22                JY1R KENNEY:        And did there corre a time when
23   you experienced hacking on your                 Oiom   e ectronic
24   equipment?
25                A.    ~es.
              Case 1:15-cv-05345-AJN-KHP Document 547-1 Filed 02/16/18 Page 4Fag
                                                                              of 6 e                                                                13 ,g
   1                                           Q.               And when                                   that?       ~             time f rame?


   3    attEmpts at. t.IB..ct..in] blEl.t 'F-:!:e nappenir:g betw-een 2012
   4:   ar:".";; up : .:::. :':'014,                                     Thc-ce r...'el:e ve!..J'· a:::'t i VoE aI_a i- hP-D ",ince
        tl:'€'I.       a~s-o                   r.here was a.h.-av.::! ':L.!liltar_t attetlq...-s -0
   5    ha.::-kir_o tha.t. happened _
  '7                                           Q.               And did the - - did you experience
   8        k-
        hae:.l.Il.g1 on any ot'" your JJ-.  "UDmens
                                      'L.,. , .
                                                    aBfIOCJJ..at e. 'o r                                                        II




   9    C1..IDii:ane r ?
_I

11      wi~ r:;:.r ,      -'-   _                   ~c
                                                     _ t'
                                                    &...                 "ro:.nt
                                                             a:rri peI~ JD wbo has some
                                                          l' -           rn'_,..           u·::.·':tpr
                                                                                                _   _ ,_


                                                                   . h_ me or TII'jr taiJU.
                                                                                      - '1y ,
-- ~

   "    kin~               f a re 18.1'" i onship rill':' th - - WJ..t
--'
   ")               a<·n
        _:0 _- __ n '] r<=>I-<"'
                        ....            ~      ..          1 -=l,r
                                                           _ WI i1'   fl'
                                                                      _   I""Ti-'   :::!
                                                                           . I..:a t...:




_5      sU'=(·c.~ '" full V                         4
                                                             hacked._
.6                                         Q        T           And did.                   j'O-a - -          did YOll ,r..c:q> Erin to the
  i     gov"e:ImJ.ent about this hacking?
                                           .1i.              -{es ; I c~lai.i·led , but also my family
  0
_ ::;                      '
        c'c{lII ,-alTIe-,.J.1
                                    ._. .::1
                                                           as c, 10 t cc- I"":Jr se:::i.:"l'. 8e' provJ..Cl!er
                                                                                                        ":: ..::1 s maU.e
                                                                                                                     _.::I


21J     tl-~€:.:r          ...Iwn criminal ccuu.:,hints ::ca: hackir:::.... Lll l":a.riOUB
21       'ur:.sdict.i ons I inc hrling S-w.':' t .zer_aroi ,
22                                             (CURT                  R~P(;';{·.:.'~",,_ .                 0 'J.lci!   ~   .!   1.i.Bt pause fcr
'-1-'
~;)     a '" ..:... . .-".... ':l-'.
         .    ~ " -""-'~        "



                                           MR K2NNFf ~                                     &lre .
                 Case 1:15-cv-05345-AJN-KHP Document 547-1 Filed 02/16/18 Page 5 of 6                                                Pag e 13 9
    1    fa                      _LA.
    2
    3


    5                                                                                                     i ,. er:.d of tape n:u.mber 2
         •
         J..I:                                  "'- .J.." -'~J.   of Ilya.s Knrapur.Dv.                                    G:ling off r.he
    7
    8
                                       "'inL~~8 ;.~q~~                             '-ljij""                  l:egir.: ning of - ape
                                                                                            0': I i "}ra.s I<::Pxapu.n:::v . Gc:inJ


                                       MR ~!BNNE-f :                         N:'I'i!.·    let             ID ':'   a5k you     'i'.-m'L i~   .:. he
         ef fe-:~ _ cf r.Lac];.ir.g when it                                               CCO_ .ll-L               tb.-oug!: y:::ur COJq:::u:.el-
14       in y"Dlir office?
                                       MR       S~RTZ~                                Cbjectior:. ,
                                       J\
                                       .n..          s..'J r I       ·11'-=:...."1...11   it    I   til     prob3.bl}r technical I but
17       ir..    tl-_~      c:oJIlf,lairc m..=tt 'i!.''e, .: iled tb=re ....'a.:.                                              _ e r~a::in   w:::rk
18       that was dJne by swiss Federal Pel! ice                                                                         aD~    9\Yiss
                                                                                                                                             •
         pr05eL""'ll tcrs t                     -;   ed.eral Pt:ooecubJ.": Off i::.'.e , ",nich ::in                                         HS
'-'U
.::.     analysis                     Ga.lJJe 'LO             conclusio::l tnat ba!Jically mel-e
21       - - messagee                         tim ~.         we _::e lll.=tde to appear r to l ook as iE
         they            '-_I;l
                             :m.::,
                                ,~     t-r'-"'"      ;,;::.-....-..::. -n-
                                           ._"' .... "'·_',JJ>_U        •. t::: '-,]"'.J'..J.
                                                                                    ... . ." .k"I"""··
                                                                                              WJ. .... ,"                I think they
.-, ")
L.~      cal _ them pbishing or sarefh i TIl] =.. ike that - - arld.
         tl-..at -- but really i TIJJide them tJ-:.-ere ' ::! a vinls and
         that p:ilL icular -.lin.l.Set:l 'i!."'e:re 'i!.· i tt. tt.e aim. cf                                                         t c.kin~l'
              Case 1:15-cv-05345-AJN-KHP Document 547-1 Filed 02/16/18 Page Page
                                                                            6 of 6                                                                 140
   1     cGntRl cf               }'0"Jr          device,                 !:oC' tl.~          o:rnpu-er                 81-     "-he _:!lone}


   3     C"an-
         ..,·~uL    C'~=·~'!1e
                    ~~'_'l lJ>_ " . _   -e t_v~ 1,_~.....~ ,:1- t_ 1.'or.• .""'JJ..• ..:._....J.."=~ , . - r· -h t:-
                                                                                                 ~c                    ~
                                                                                                                       ..., p_n:jp_        l'I........
                                                                                                                                      '_"- r_ -::..,t=:l
                                                                                                                                                   0;::'




   L     -- ':if : he v·ir--J;S       it t o be , ard in :.heir a.'1a.lY3iiJ
                                                 'A"a...'1.ted

   c:    I believ'e t:1.ey al.::: con::: uc.e::: that -here is - - tnat
   6     Lhis Ka7ak ontan. gc\,rerTIrJlSjt i:::; ir:.volvOO S:Jme way r,d t:1J.
   ']    this       hadd~.

   R                            r~.     lITNNE'1 ~                Are tt..eIc- ·prese:J.r 1y o::~la1
                                                                                                ...  ::1ts
   9          cr im:inal ca:apla 1nts per.riirg'?
                       'J.. . Ye:J J tne:r.e 1 _ peD.~j r.;                                             acr. i~lre            cr i miIL..U
   1     camp1ain:: s            ~         t_       t:!le":'r        regard .
12
13       latter part, the fall of 2013 .
                   your     0   ffice located?
15                              lL                                                           3 Rue du :Ml:u - - :E!.la'l1.c ,
16                              Q.                                            []I   Mt" Bourg'                     office located?
   ,,
18                                         And wheJ.:Ie wa.a IMI' Foucher I                                              office
l~


  J1
.a:.._   u~~- ,:h'='
         J '~ _   ~"




22                              o·                                                                           Bourg"               or f iee
23
                                                               I::::etdr:.ci Kernpir.ski.                              s.::    in L-e:1.clla
                                                                                             ,
25
